      Case 3:17-cv-02294-L-WVG Document 30 Filed 07/10/18 PageID.98 Page 1 of 1



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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   THOMAS BALLENGER,                                   Case No.: 3:17-cv-02294-L-WVG
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION [Doc. 28] TO DISMISS
14   DEL MAR RECOVERY SOLUTIONS,
     INC., et al.
15
                                     Defendants.
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18         Pursuant to the Parties’ joint motion to dismiss under Fed. R. Civ. P. 41, the Court
19   hereby dismisses this action with prejudice, each party to bear their own fees and costs.
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     IT IS SO ORDERED.
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     Dated: July 10, 2018
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